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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiffs,                                            Case No.: 18-cv-5878

v.                                                             Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs hereby file this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

(90) days, the dismissal is with prejudice.

               NO.                                  DEFENDANT
               511                                   Ohyes Trade
               709                                    xumeijing
               297                                  dress4yourlife
               442                                    lintaofushi
               612                                    super APP
               745                                     zengrong
               285                                     delcatty
               291                                    dingxinyan
               514                                   OrchidFarm
               492                                     missdiva
               545                                      rainyu
               736                                    yujianchu
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        354                                  guohuihui
        445                                   liuhui884
        350                               goldyuanshuostore
        374                                huangwenyuan1
        560                                SellMax Trade
        272                                  Crazy Gai
        416                                   keainvren
        761                                zhoulinghong1
        422                                   kujata515
        199               Aestheticism of beautiful women's clothing brand
        393                                  jdjhru5478
        592                                  shinhwazan
        474                                    meigui
        628                                   taoyahan
        748                                zhanghongyue
        726                                  yingxiong
        522                                    pidding
        615                                 suuuuuper_jo
        702                                xiuxiuxianxian
        181                                     6950
        223                                     baihe
        759                               zhouguoc1982_6
        753                                zhangzhongjie
        563                               sexy baby LINNA
        379                                   huazeyu
        546                                    reqing
        198                                  Advenland
        237                                    Best er
        273                                  CrazyShop
        365                                 Hobbydragon

                                      2
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        429                               Leader Hitech
        439                                liaoshuqing
        508                                Noriestore
        597                               ShuiQiZiRan
        683                              Wonderful Share
        132                       Shantou Zhorya Toys Co., Ltd.
         55                       Hangzhou EZ Leisure Co., Ltd.
        292                                   djbd
        269                                  cjxstore
        541                                  qtstore
        529                                 QDKshop
        588                 shenzhenshiyayingshangmaoyouxiangongsi
        275                                 cubpapa
        555                               SandyMarket
        629                              TFFashionStore
        480                                  Merish
        477                    Meiya Electronic Commerce Limited
        523                                 Pimenova
        602                  Siwei Fang Electronic Commerce Limited
        219                                 Avenues
        572                                Sheng Mei
        624                                tangyu6122
        771                               zhuyunmeng
        239                                Better_Do
        340                              Funoc_fashion
        478                                 meiyixuli
        314                              Familyofhitech
        582                  shenzhenshifudisishangmaoyouxiangongsi
        409                                 Jolin&DT
        497                         naersicom@outlook.com

                                     3
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              289                                     DEYOU
              663                                   WearFashion
               7                                    dshaow1688
              162                              Union Chance Co., Ltd.



DATED: December 20, 2018                           Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt, Ltd.
                                                   1033 South Blvd., Suite 200
                                                   Oak Park, Illinois 60302
                                                   Telephone: 708-203-4787
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 20, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.
                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.




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